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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                               SAVANNAH DIVISION

OWNERS INSURANCE COMPANY,

        Plaintiff,

-vs-
                                                  Case No. 4:21-cv-00266-RSB-CLR
TAMARA NICOLE DOCK, as
Surviving Parent of Albert Wilson Dock,
and as the Administrator of the Estate of
ALBERT WILSON DOCK; and
ANTOINE OMAR MCLENDON,

        Defendant.

       DEFENDANT TAMARA NICOLE DOCK’S REPLY BRIEF IN FURTHER
                 SUPPORT OF HER MOTION TO DISMISS

        COMES NOW, TAMARA NICOLE DOCK, as Surviving Parent of Albert Wilson

Dock and as the Administrator of the Estate of Albert Wilson Dock, Defendants herein,

and files this her Reply Brief in Further Support of the Motion to Dismiss, showing the

Court as follows:

        As of the date of this submission, Owners has yet to provide proof that it has

served co-Defendant, its insured, Antoine McLendon. Yet, Owners must have some

contact with McLendon because it states that it is defending McLendon in the “Estate

Lawsuit,” a second action filed by Defendant Estate of Albert Wilson Dock, “pursuant to

McLendon’s request.” (Owners’ Response, ECF No. 10, p. 4). If it can act in response to

McLendon’s request, Owners must know how to reach McLendon, and must have been in

contact with him. Owners must serve McLendon.
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       Owners argues that a controversy exists because it is unsure as to whether it has

“any further duty to defend or indemnify under the Policy.” (Owners’ Response p. 6).

Yet, it has already tacitly admitted (in its Complaint), that its actions in defending

McLendon, even after it paid its limits to exhaust the available coverage, was voluntary.

See Complaint, para. 14 (“Although Owners had exhausted the policy limits, Owners

continued to provide McLendon a defense in the Wrongful Death Action.”) And, it has

already affirmatively stated that the limits under the policy were exhausted. (Letter, dated

April 4, 2019, ECF No. 9-1). Whether for right or for wrong, these are the positions

taken by Owners. Having already taken these positions, it should not be allowed to

request approval for decisions made and positions already taken in the context of this

declaratory judgment action.

       As to the estoppel issue, Owners argues that its delay in filing this declaratory

judgment action is excused because this is not a situation where the “insured refused to

consent to a defense under reservation of rights.” (Owners’ Brief at 12, citing Richmond

v. Ga. Farm Bureau Mut. Ins. Co., 140 Ga. App. 215 (1976)). Owners asserts in its brief

that the reservation of rights it issued to McLendon after the trial of the Wrongful Death

Action was not the “first or only reservation of rights.” (Owners Brief at 10). It

affirmatively states that “this was not the first reservation of rights and Owners was

indeed defending McLendon pursuant to a reservation of rights.” (Id.) This existence of

this first reservation of rights was neither pled nor attached to the Complaint, and Owners



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should be required to provide this document if it wishes to pursue this declaratory

judgment action.

                                     CONCLUSION

       For the forgoing reason, Defendant Tamara Dock requests that this action for

Declaratory Judgment be DISMISSED.


       THIS THE 12th DAY OF NOVEMBER , 2021.

                                          SAVAGE & TURNER, P.C.

                                          By:    /s/ Kathryn Hughes Pinckney
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                             CERTIFICATE OF SERVICE

       I hereby certify that I have this day served a true and correct copy of the within

and foregoing document on all parties via email and United States Mail, first class,

postage prepaid.

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       THIS THE 12th DAY OF NOVEMBER , 2021.

                                          SAVAGE & TURNER, P.C.

                                          By:      /s/ Kathryn Hughes Pinckney
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                                                  Kathryn Hughes Pinckney
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